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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

BEXAR COUNTY HOSPITAL DISTRICT                     §
d/b/a UNIVERSITY HEALTH SYSTEM                     §
                                                   §          CIVIL ACTION NO. 5:19-cv-00124
VERSUS                                             §
                                                   §
SCHINDLER ELEVATOR CORPORATION                     §


      ANSWER TO PLAINTIFF’S ORIGINAL PETITION AND COUNTERCLAIM



        Defendant, Schindler Elevator Corporation (“Schindler”), answers the Original Petition

(the “Complaint”) filed against it by Plaintiff, Bexar County Hospital District d/b/a University

Health System (“UHS”), as follows:

                                        FIRST DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                      SECOND DEFENSE

        In response to the specific allegations of Plaintiff’s Complaint, Defendant avers as

follows:

                                                 I.

        Articles 1, 2, 4, 6, 7, 10, 48, and 49 are denied, as written, for lack of sufficient

information upon which to justify a belief.

                                                 II.

        In response to Article 3, Schindler admits only its status as a foreign business entity. All

other allegations in Article 3 are denied, as written, for lack of sufficient information upon which

to justify a belief.
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                                                        III.

        Articles 5, 8, 9, 12, 17, 18, 19, 22, 24, 25, 26, 28, 32, 33, 34, 36, 37 (including subparts a,

b, c, d, e, f, g, h, and i), 38, 40, 41, 42, 43, 45, 46, and 47 and the Prayer (including subparts a, b,

c, d, e, f, ,g , h, i, and j) are denied, as written.

                                                        IV.

        Articles 11, 13, 14, 15, 16, 20, 21, 23, 27, 29, 30, and 31 require no response from

Schindler as they simply set forth various provisions of the contract between the parties. In an

abundance of caution however, to the extent Plaintiff asserts Schindler violated its contract with

Plaintiff, Schindler denies the allegations, as written.

                                                        V.

        In response to Articles 35, 39, and 44, Schindler re-alleges and re-avers all of its

responses to the other allegations in Plaintiff’s Complaint, as well as its affirmative defenses, as

if the same were pled at length in extenso herein.

                                                        VI.

        Any other Articles in the Plaintiff’s Complaint, not otherwise responded to above, are

herby denied, as written, for lack of sufficient information upon which to justify a belief.

                                            THIRD DEFENSE

        Schindler contends that the contract was missing essential terms and is unenforceable to

that extent.

                                           FOURTH DEFENSE

        Schindler was fraudulently induced into agreeing to repairs which Plaintiff contends were

necessary but were not.




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                                       FIFTH DEFENSE

       Schindler contends that conditions precedent for contract enforcement remain

outstanding preventing Plaintiff from maintaining this litigation.

                                       SIXTH DEFENSE

       Schindler affirmatively alleges that the circumstances surrounding the contract had

changed dramatically and the contract became impracticable.

                                     SEVENTH DEFENSE

       Plaintiff repudiated the subject contract prior to any breach by Schindler.

                                      EIGHTH DEFENSE

       Plaintiff’s actions amount to a waiver.

                                       NINTH DEFENSE

       Both parties operated under a mutual mistake with respect to the performance of the

subject contract.

                                       TENTH DEFENSE

       Schindler operated under a unilateral mistake about the subject contract making it

unenforceable.

                                    ELEVENTH DEFENSE

       The parties entered into a novation with respect to the claimed repairs by Plaintiff and

Schindler has not breached that agreement.

                                     TWELFTH DEFENSE

       Plaintiff failed to mitigate its damages.




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                                    THIRTEENTH DEFENSE

        Plaintiff has sought to secure upgrades above and beyond simple maintenance repairs as

part of this litigation.

                                   FOURTEENTH DEFENSE

        Plaintiff failed to secure reasonable costs for repairs made on its elevators by a substitute

contractor.

                                     FIFTEENTH DEFENSE

        Plaintiff’s claims are barred by the doctrine of laches or unclean hands.

                                       COUNTERCLAIM

        AND NOW, in its position as Plaintiff in Counterclaim against UHS, Schindler avers as

follows:

        1.       Plaintiff in Counterclaim, Schindler Elevator Corporation, is a Delaware

corporation, with its principal place of business located in Morristown, New Jersey.

        2.       Defendant in Counterclaim, UHS, is, upon information and belief, a political

subdivision of the State of Texas, with a principal place of business in the San Antonio, Texas.

        3.       Schindler is a foreign business entity with a foreign principal place of business,

while UHS is a Texas domestic governmental entity with a Texas principal place of business.

        4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332, on the grounds

of complete diversity between the parties.

        5.       Schindler is contending it is owed $250,471.86 for unpaid maintenance and/or

repair work by UHS. Accordingly, the minimum jurisdictional amount of this Court is satisfied.

        6.       Schindler and UHS entered into a contract whereby Schindler would perform

certain maintenance and repairs to elevators owned and/or controlled by UHS.


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        7.      Schindler performed maintenance and repair work for UHS throughout the term

of the contract, including, but not limited to, March 1 through July 11, 2016.

        8.      In about July 2016, UHS improperly repudiated the contract with Schindler.

        9.      At the time of the repudiation of the contract by UHS, UHS owed Schindler a

total of $250,471.86 for maintenance and repair work.

        10.     Schindler properly performed its work and services according to the terms of the

contract and is duly entitled to payment for its services rendered.

        11.     Schindler has made amicable demand upon UHS to no avail.

        12.     The terms of the contract between the parties entitle Schindler to attorney’s fees,

costs, and interest, in connection with its litigation efforts to collect on this debt.

        13.     All conditions precedent to this suit have been exhausted.

        14.     Schindler prays for all contract relief, quasi-contractual relief, and equitable relief

as the nature of this case permits.

        15.     Schindler prays for a trial by jury.

        WHEREFORE, Defendant, Schindler Elevator Corporation, prays that this Answer and

Counterclaim be deemed good and sufficient, and that, after due proceedings are had, there be

judgment herein in favor of Counterclaimant, Schindler Elevator Corporation, and against

Plaintiff, Bexar County Hospital District d/b/a University Health System, at Bexar County

Hospital District d/b/a University Health System’s cost; for an award of attorney’s fees, costs,

and legal interest in favor of Schindler Elevator Corporation; for a trial by jury of all issues of

fact; and for such full, general, and equitable relief as the nature of the case may permit.




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THE AUBERT LAW FIRM


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                                 CERTIFICATE OF SERVICE

       I certify that the foregoing Answer to Plaintiff’s Original Petition and Counterclaim was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to the following counsel, by operation of the Court’s electronic filing system, on this 12th

day of February, 2019:

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                                                     /s/ Christopher J. Aubert
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